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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    (Admitted pro hac vice)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan

                                                                    Hearing Date and Time:
                                                                    May 22, 2023 at 10:00 a.m.

                 NOTICE OF DEBTOR’S MOTION FOR AN ORDER
            ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
         AND REIMBURSEMENT OF EXPENSES OF RETAINED PROFESSIONALS

                     PLEASE TAKE NOTICE that, on May 22, 2023 at 10:00 a.m., or as soon

thereafter as counsel may be heard, LTL Management LLC, the above-captioned debtor

(the “Debtor”), by and through its proposed counsel, shall move before the Honorable Michael



1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


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B. Kaplan, United States Bankruptcy Judge, at the United States Bankruptcy Court, Clarkson S.

Fisher U.S. Courthouse, 402 East State Street, Trenton, New Jersey 08608, for the entry of an

order establishing procedures for interim compensation and reimbursement of expenses of

retained professionals (the “Motion”).

                 PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-2,

responsive papers, if any, must be filed with the Clerk of the Bankruptcy Court, Clarkson S.

Fisher Courthouse, 402 East State Street, Trenton, New Jersey 08608, and served upon (a) the

Debtor’s undersigned counsel, (b) the proposed counsel to the Official Committee of Talc

Claimants, (c) counsel to the Ad Hoc Group of Supporting Counsel, (d) the proposed legal

representative for future talc claimants and her counsel, (e) the Office of the United States

Trustee for the District of New Jersey and (f) any other party entitled to notice no later than

seven (7) days prior to the hearing.

                 PLEASE TAKE FURTHER NOTICE that, unless an objection is timely filed

and served, the Motion will be deemed uncontested in accordance with D.N.J. LBR 9013-3(d)

and the relief may be granted without a hearing.




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 Dated: May 1, 2023                     WOLLMUTH MAHER & DEUTSCH LLP

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